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              EXHIBIT 2
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                         UNITED STATES DISTRICT COURT
                  IN AND FOR THE DISTRICT OF WYOMING
                             JURY TRIAL DEMANDED
                         CASE NO.: 2:23-CV-00118-NDF


                             STEPHANIE WADSWORTH,
                INDIVIDUALLY AND AS PARENT AND LEGAL
             GUARDIAN OF W.W., K.W., G.W., AND L.W.,
                         MINOR CHILDREN, AND MATTHEW
                                     WADSWORTH,
                                     Plaintiffs


                                            V.


                           WALMART, INC. AND JETSON
                             ELECTRIC BIKES, LLC,
                                     Defendants




 DEPONENT:        GUNNER WADSWORTH
 DATE:            MAY 20, 2024
 REPORTER:        MELODIE BERGERON

                  Gwendolyn Parker & Associates
                          214-747-8007
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 1   that you used the hoverboard?
 2         A.     Yes.
 3         Q.     Okay.       And that you would've -- that you
 4   plugged it in at one point?
 5         A.     And we unplugged it and played with it more.
 6         Q.     Okay.       And then at the end of the evening when
 7   you were done, you don't know if you plugged it in or
 8   not; is that right?
 9         A.     Yes.
10         Q.     Okay.       And would you have played with the
11   hoverboard in your bedroom?
12         A.     Yes.
13         Q.     And would -- because you shared a room with
14   Layne; right?
15         A.     Uh-huh.
16         Q.     Yes?
17         A.     Yes.
18         Q.     Okay.       Do you still share a room with Layne?
19         A.     Yes.
20         Q.     All right.       Was Layne playing with the
21   hoverboard as well?
22         A.     We would take turns, so yes.
23         Q.     Okay.       And was Kamille using the hoverboard
24   with you the day before the fire as well?
25         A.     Yes.


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 1         A.     But it was closer to the door than it was to
 2   the other wall.          Other side of the wall.
 3         Q.     Okay.       And after you went to sleep again,
 4   after you used the bathroom, the next time when you woke
 5   up, was because of the fire?
 6         A.     It was because of my brother yelling at me --
 7         Q.     Okay.
 8         A.     -- during the fire.
 9         Q.     And that was Layne yelling at you?
10         A.     Yes.
11         Q.     Do you remember what Layne was saying?
12         A.     He was saying something around, Gunner, get
13   up.   There's fire.
14         Q.     Okay.       And is that when you saw fire at the
15   window area?
16         A.     Yes.
17         Q.     Okay.       Was that the first place that you saw
18   fire was by the window?
19         A.     Yes and --
20         Q.     Yes?
21         A.     Yes.
22         Q.     Okay.       And you were on the top bunk at that
23   time; right?
24         A.     Yes.
25         Q.     Okay.       Once you saw the fire, did you get out


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